                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION
                                    DOCKET NO. 3:13cv___
                                     [ 3:95-cr-00031-MOC]

ERIC CREIGHTON SAMPSON,                                            )
                                                                   )
                          Petitioner,                              )
                                                                   )           INITIAL SCREENING
Vs.                                                                )                 ORDER
                                                                   )
UNITED STATES OF AMERICA,                                          )
                                                                   )
                         Respondent.                               )


         THIS MATTER is before the court on petitioner’s “Motion for Application of Recent

Supreme Court Decision in Alleyne v. United States, No. 11-9335 (June 7, 2013)” (#373). As

the motion questions the legality of the sentence imposed, the court deems such to be a Motion to

Vacate, Set Aside, or Correct Judgment filed in accordance with 28 U.S.C. § 2255.1

         The court has considered the pending motion and determined that, to the extent petitioner

seeks relief under 28, United States Code, Section 2255 to Vacate, Set Aside, or Correct

Sentence by a Person in Federal Custody, an initial screening of the petition under the Rules

Governing § 2255 Proceedings, Rule 4(b) 28 U.S.C. §2255 is appropriate.

         First, the petition has not been signed under penalty of perjury, Rule 2(b)(5), Rules

Governing Section 2255 Proceedings. Inasmuch as such error could be corrected, the court will

consider the substance of the petition; however, for the reasons that follow the court will not

require such correction as it appears this action cannot proceed for other reasons.

         Second, the court has conducted a review for determination as whether the petition is a



1        As petitioner has previously filed a Section 2255 petition (see Motion (#253) in the underlying criminal
action and Sampson v. United States, 3:99cv127) the court will not provide a Castro notice.

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second or successive petition. Reading the petition in a light most favorable to petitioner, he

arguably asserts that despite having previously filed a petition under Section 2255 in 1999, he

should be allowed under Section 2255(h)(2) to file a second or successive petition because

Alleyne v. United States, No. 11–9335 (U.S. June 17, 2013), establishes a new rule of law.2

         In Alleyne, the Supreme Court held that that a judge cannot decide whether a defendant's

conduct met the requirements for a mandatory minimum sentence unless the defendant waives

his entitlement to a jury, but that a jury is unnecessary where the defendant admits facts that

require imposition of a minimum sentence. Id. As Alleyne specifically overruled Harris v.

United States, 536 U.S. 545 (2002) (holding that such determinations may be made by either a

judge or a jury), the Court of Appeals for the Seventh Circuit (the only appellate court to have

addressed such issue thus far) found that Alleyne establishes a new rule of law. See Simpson v.

United States, ___ F.3d ___, 2013 WL 3455876 (7th Cir. July 10, 2013). However, that court

went on to hold that Alleyne had not been made retroactively applicable to cases on collateral

review by the Supreme Court. Id. (citing Dodd v. United States, 545 U.S. 353 (2005) (holding

that the declaration of retroactivity must come from the Supreme Court)).

         As in Simpson, petitioner’s previous § 2255 filing makes the instant filing a second or

successive petition under the Antiterrorism and Effective Death Penalty Act (hereinafter the

“AEDPA”). See 28 U.S.C. § 2255. Relief from the requirements of the AEDPA under Section

2255(h)(2) is not, however, a determination that can be made by this court, but is for

determination by the Court of Appeals.3 Specifically, the AEDPA requires that a “second or

successive motion must be certified . . . by a panel of the appropriate court of appeals . . .” before


2        The court notes that it has very broadly construed the petition, finding on its own implicit procedural
arguments as petitioner has devoted almost the entirety of his petition to the substance of his claim.
3        The discussion of Alleyne is limited to providing context to the petition and to aid the court in making a
Rule 11 “Certificate of Appealability” determination. Such discussion is not intended to bind petitioner or this or
any other court.

                                                          2

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it can be filed in the district court. Id. “Before a second or successive application [for habeas

corpus] is filed in the district court, the applicant shall move in the appropriate court of appeals

for an order authorizing the district court to consider the application.” 28 U.S.C. §

2244(b)(3)(A). Thus, this court may not consider the merits of petitioner’s claims because he has

failed to first seek authorization from the Court of Appeals for the Fourth Circuit before filing it

in this court. The court will, therefore, dismiss the instant petition without prejudice and instruct

petitioner that he must first seek and obtain permission from the Court of Appeals for the Fourth

Circuit before filing a second or successive petition in this court.



                                            ORDER

                IT IS, THEREFORE, ORDERED that petitioner’s “Motion for Application of

Recent Supreme Court Decision in Alleyne v. United States, No. 11-9335 (June 7, 2013)” (#373)

is deemed to be a second or successive Motion to Vacate, Set Aside, or Correct Judgment filed in

accordance with 28 U.S.C. § 2255, and is DISMISSED without prejudice as petitioner has failed

to first seek leave of the Court of Appeals for the Fourth Circuit before filing such petition in this

court.

                               Denial of Certificate of Appealability

         Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases, this court declines to

issue a certificate of appealability as petitioner has not made a substantial showing of a denial of

a constitutional right. 28 U.S.C. § 2253(c)(2); Miller -El v. Cockrell, 537 U.S. 322, 336-38

(2003) (in order to satisfy § 2253(c), a petitioner must demonstrate that reasonable jurists would

find the district court's assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484–85 (2000) (in order to satisfy § 2253(c) when court denies relief



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on procedural grounds, a petitioner must demonstrate both that the dispositive procedural ruling

is debatable, and that the petition states a debatable claim of the denial of a constitutional right).




                 Signed: August 8, 2013




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